 USCA11 Case: 21-13232    Document: 20     Date Filed: 01/25/2022   Page: 1 of 54



                         No. 21-12458/No. 21-13232

             IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT

           MUSIC SPECIALIST, INC. and SHERMAN NEALY
                                         Plaintiffs-Appellants,

                                      v.

           WARNER CHAPPELL MUSIC, INC., ARTIST PUBLISHING
           GROUP, LLC, and ATLANTIC RECORDING CORPORATION
                                      Defendants-Appellees.


            On Appeal from the United States District Court for the
                         Southern District of Florida
                          No. 1:18-CV-25474-RAR


                     APPELLANTS’ INITIAL BRIEF


Carlton LP Talbot, Esq.                    Brady F. Williamson, Esq.
Talbot Legal Consultants                   Salzano, Lampert & Wilson, LLP
2719 Hollywood Blvd., Suite 5067           275 Madison Ave., 35th Floor
Hollywood, FL 33020                        New York, NY 10016

Chris Kleppin, Esq.
The Kleppin Law Firm
8751 W. Broward Blvd., Suite 105
Plantation, FL 33324

     Counsel for Plaintiffs-Appellants Music Specialist, Inc. and Sherman Nealy

January 25, 2022
 USCA11 Case: 21-13232       Document: 20     Date Filed: 01/25/2022   Page: 2 of 54



     CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                  DISCLOSURE STATEMENT

AI Entertainment Holdings LLC, Parent Company of Defendants-Appellees Warner

Chappell Music, Inc. and Atlantic Recording Corporation

Artist Publishing Group, LLC, Defendant-Appellee

Atlantic Recording Corporation, Defendant-Appellee

Baker, Garfield, entitled to % recovery per agreement with Sherman Nealy

Becerra, Jacqueline, United States Magistrate Judge for the Southern District of

Florida

Brown Rudnick LLP, Appellant's Counsel

Cowan, Liebowitz & Latman, P.C., Counsel for Defendant Atlantic Recording

Corporation

Gaines, Jonathan, Appellee's Counsel

Gray Robinson, P.A., Appellee's Counsel

Herman, Peter, Appellant's Counsel

King, Jonathan, Counsel for Defendant Atlantic Recording

Kleppin, Chris, Appellants’ Counsel

Lewis, Chelsea, Appellant’s Counsel

Lewis Law, LLC, Appellant’s Counsel

Moreno, David, Appellant’s Counsel

Music Specialist, Inc., Plaintiff-Appellant


                                       CIP - 1
 USCA11 Case: 21-13232      Document: 20     Date Filed: 01/25/2022   Page: 3 of 54



Music Specialist Publishing, d/b/a of Plaintiff-Appellant Music Specialist, Inc.

Nealy, Sherman, Plaintiff-Appellant

Peter Herman, P.A., Appellant’s Counsel

Ruiz II, Rodolfo A., United States District Judge for Southern District of Florida

Salzano, Frank, Appellant’s Counsel

Salzano, Lampert & Wilson, LLP, Appellant’s Counsel

Smith, Byron, entitled to % of recovery per agreement with Sherman Nealy

Stetson, Karen, Appellee’s Counsel

Talbot, Carlton, Appellant’s Counsel

Talbot Legal Consultants, Appellant’s Counsel

The Kleppin Firm, P.A., Appellants’ Counsel

Warner Chappell Music, Inc., Defendant-Appellee

Warner Music Group Corporation (“WMG”), Parent Company of Defendant-

Appellees Warner Chappell Music, Inc. and Atlantic Recording Corporation

                         Corporate Disclosure Statement

      Plaintiff-Appellant, Music Specialist, Inc., is not a publicly traded company,

has no parent company, and there is no publicly held corporation that owns 10% or

more of its stock. Defendants-Appellees, Warner Chappell Music, Inc. and Atlantic

Recording Corporation, are not publicly traded companies, but are subsidiaries of

Warner Music Group Corporation (“WMG”), which is a publicly traded company



                                       CIP - 2
 USCA11 Case: 21-13232    Document: 20    Date Filed: 01/25/2022    Page: 4 of 54



with more than 10% of its stock owned by AI Entertainment Holdings LLC and its

affiliates.

January 25, 2022                          Respectfully submitted,

                                          _/s/ Carlton Talbot____________
                                          Carlton LP Talbot, Esq.
                                          Talbot Legal Consultants
                                          Fla Bar ID: 0107089
                                          2719 Hollywood Blvd., Suite 5067
                                          Hollywood, FL 33020
                                          954-815-6465
                                          carlton@talbotlegalco.com

                                          Attorney for Plaintiffs-Appellants
                                          Music Specialist, Inc. and Sherman
                                          Nealy




                                   CIP - 3
 USCA11 Case: 21-13232       Document: 20      Date Filed: 01/25/2022   Page: 5 of 54



              STATEMENT REGARDING ORAL ARGUMENT

      Plaintiffs-Appellants respectfully request oral argument. Oral argument is

warranted because one of the issues contained in this appeal is an issue of first

impression for this Court, for which a circuit split either (and arguably) presently

exists or will more than likely be created prior to a final ruling on the instant appeal

(see Section I, infra). That issue is whether the Copyright Act (17 U.S.C. § 101 et

seq) permits the recovery of damages occurring more than three-years prior to the

commencement of a copyright infringement suit when the discovery rule governs

the accrual of the plaintiff’s claims and the plaintiff’s claims have been brought

within three-years of the date which he learned or should have learned of the

defendant’s infringement.

      On the other issue, which concerns evidence applied to the summary judgment

standard, oral argument would significantly aid the Court’s decisional process

because it would allow the parties to provide this Court with further and necessary

explanation of the roles of the different parties in the intricate music industry, and

more importantly, with further and necessary explanation of the convoluted factual

background pertaining to both the relevant parties and musical works at issue; both

of which directly relate to the issue appealed.




                                           i
USCA11 Case: 21-13232               Document: 20           Date Filed: 01/25/2022             Page: 6 of 54



                    CERTIFICATE OF TYPE SIZE AND STYLE

     This Brief has been prepared using 14.0 Times New Roman print.


                                    TABLE OF CONTENTS

CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
DISCLOSURE STATEMENT ............................................................................. 1

STATEMENT REGARDING ORAL ARGUMENT ............................................ i

CERTIFICATE OF TYPE SIZE AND STYLE ................................................... ii

TABLE OF CONTENTS ...................................................................................... ii

TABLE OF AUTHORITIES ............................................................................... iv

STATEMENT REGARDING ADOPTION OF BRIEFS OF OTHER PARTIES1

STATEMENT OF SUBJECT MATTER AND APPELLATE JURISDICTION 1

STATEMENT OF THE ISSUES………………………………………………..2

STATEMENT OF THE CASE ............................................................................. 3

A. Factual Background ....................................................................................... 3
B. Procedural History ....................................................................................... 13
C. Rulings for Review ...................................................................................... 15
D. Standard of Review ...................................................................................... 17

ARGUMENT ...................................................................................................... 19

I. The Sohm Holding Contradicts Well-Established Copyright Law and
Erroneously Interprets Petrella. This Court Should Therefore Adopt the Ninth
Circuit’s Polar Bear-Discovery Rule Exception, Which Provides That § 507(b)
Permits Damages Occurring Outside of the Three-Year Window, So Long as the
Copyright Owner Did Not Discover- and Reasonably Could Not Have
Discovered- the Infringement Before the Commencement of the Three-Year
Limitations Period. The Polar Bear-Discovery Rule Exception Has Been


                                                      ii
 USCA11 Case: 21-13232                 Document: 20            Date Filed: 01/25/2022              Page: 7 of 54



  Repeatedly Followed By Courts in the Ninth Circuit and Elsewhere Both Pre-and
  Post-Sohm and Will Likely Be Reinforced By the Ninth Circuit Once More in the
  Starz Case Currently Pending Before It. ............................................................. 19

     A. The Discovery Rule – When the Plaintiff Learns or Should Have Learned
     of the Defendant’s Infringement – Applies to the Accrual of Copyright Claims.
          20
     B. Petrella is Consistent With § 507(b) and Did Not Overrule Polar Bear. 22
     C. Sohm’s Holding is Inherently Self-Contradictory, Undermines the
     Discovery Rule, and Has Been Widely Criticized. ......................................... 25
     D. Wide-Spread Adoption of Sohm Would Incentivize Infringement, Place an
     Unnecessary Burden on Artists, and Harm the Public. ................................... 27

II.   The District Court Usurped the Functions of the Jury, Disregarded Record
Evidence, and Improperly Concluded That MSI and Nealy Did Not Present
Evidence Sufficient to Defeat Summary Judgment on the Issue of Ownership of
the MSP-Registered Songs. Application of a Proper Summary Judgement
Standard to the Ample Evidence Present in the Record Mandates That the Issue
Be Brought Before the Trier of Fact....................................................................... 30

  A. The Deposition Testimony of Nealy Coupled With That of Jonathan Black
  and Garfield Baker, Standing Alone, Creates a Genuine Issue of Material Fact. 32
  B. The Facts Stated Within the Copyright Certificates and the Copyright Office’s
  Public Catalog are Documentary Evidence of the Relationship. ........................ 35
  C. Tony Butler, the Former Vice President of MSI and the Sole Author of the
  Musical Works Acknowledged in Court Filings That MSI and MSP Were One in
  the Same Entity. .................................................................................................. 37

CERTIFICATE OF COMPLIANCE ..................................................................... 43

CERTIFICATE OF SERVICE ............................................................................... 44




                                                         iii
 USCA11 Case: 21-13232                     Document: 20              Date Filed: 01/25/2022                Page: 8 of 54



                                        TABLE OF AUTHORITIES

Cases

Alfa Laval Inc. v. Flowtrend, Inc., No. H-14-2597, 2016 WL 2625068 (S.D. Tex.
  May 9, 2016) ....................................................................................................... 27

Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986)........................................... 30

Beatie v. City of New York, 123 F.3d 707 (2d Cir. 1997) ....................................... 31

Calhoun v. Lillenas Publ'g, 298 F.3d 1228 (11th Cir. 2002) ................................. 20

Casey Enterprises v. Am. Hardware Mutual Insurance Co., 655 F.2d 598, (5th
 Cir.1981) ............................................................................................................. 17

Cook ex rel. Estate of Tessier v. Sheriff of Monroe Cnty., 402 F.3d 1092 (11th
 Cir.2005) ............................................................................................................. 31

D’Pergo Custom Guitars, Inc. v. Sweetwater Sound, Inc., 516 F. Supp. 3d 121
 (D.N.H. 2021) ..................................................................................................... 27

Eastman Kodak Co. v. Image Technical Servs, Inc., 504 U.S. 451 (1992) ............ 34

Environmental Defense Fund v. Marsh, 651 F.2d 983 (5th Cir.1981) ................... 17

Habersham Plantation Corp. v. Molyneux, No. 10-61526-CIV-DIMITROULEAS,
 2011 U.S. Dist. LEXIS 117511 (S.D. Fla. Aug. 19, 2011) ................................. 14

Harris v. H & W Contracting Co., 102 F.3d 516 (11th Cir. 1996) ........................ 17

Krist v. Scholastic, Inc., 253 F. Supp. 3d 804 (E.D. Pa. 2017) .............................. 27

Maxi-Taxi Of Fla., Inc. v. Lee Cty. Port Auth., 301 F. App’x 881 (11th Cir. 2008)
 ............................................................................................................................. 30

Menzel v. Scholastic, Inc., No. 17-CV-05499-EMC, 2019 WL 6896145 (N.D. Cal.
 Dec. 18, 2019) ..................................................................................................... 24

Mitchell v. Capitol Recs., LLC, 287 F. Supp. 3d 673 (W.D. Ky. 2017) ................. 27

Morrison v. Washington County, Alabama, 700 F.2d 678 (11th Cir. 1983) ........... 17

                                                               iv
 USCA11 Case: 21-13232                    Document: 20             Date Filed: 01/25/2022               Page: 9 of 54



Petrella vs. Metro-Goldwyn-Mayer, Inc., 572 US 662 (2014) ........................ passim

Polar Bear Productions, Inc. v. Timex Corp., 384 F.3d 700 (9th Cir. 2004) ... 16, 22,
 24, 29

Richardson v. Kharbouch, No. 19-C-02321, 2020 WL 1445629 (N.D. Ill. Mar. 25,
  2020) ................................................................................................................... 27

Saregama India Ltd. v. Mosley, 635 F.3d 1284 (11th Cir. 2011) ........................... 31

Sohm vs. Scholastic, 959 F.3d 39 (2d Cir. 2020) ............................................ passim

Starz Ent., LLC v. MGM Domestic Television Distribution, LLC, 510 F.Supp.3d
  878 (C.D. Cal. Jan. 5, 2021), motion to certify appeal granted, No. CV 20-4085-
  DMG (KSX), 2021 WL 945237 (C.D. Cal. Feb. 22, 2021) .................... 24, 26, 29

Stewart v. Booker T. Washington Ins., 232 F.3d 844 (11th Cir. 2000) .................. 31

Stone v. Williams, 970 F.2d 1043 (C.A.2 1992) ..................................................... 21

Strickland v. Water Works and Sewer Bd., 239 F.3d 1199 (11th Cir. 2001).......... 31

Thrasher v. State Farm Fire & Cas. Co., 734 F.2d 637 (11th Cir. 1984) .............. 17

Tippens v. Celotex Corp., 805 F.2d 949 (11th Cir. 1986) ...................................... 18

Topline Sols., Inc. v. Sandler Sys., Inc., No. ELH-09-3102, 2017 WL 1862445 (D.
  Md. May 8, 2017) ............................................................................................... 27

Turnes v. AmSouth Bank, N.A., 36 F.3d 1057 (11th Cir.1994). ............................. 18

Urbont v. Sony Music Ent., 831 F.3d 80 (2d Cir. 2016) ......................................... 30

Webster v. Dean Guitars, 955 F.3d 1270 (11th Cir. 2020) .................................... 20

William A. Graham Co. v. Haughey, 568 F.3d 425 (3rd Cir. 2009) ...................... 21
Other Authorities

Brief for Professor Tyler T. Ochoa as Amici Curiae Supporting Appellee, Starz
  Entertainment, LLC v. MGM Domestic Television Distribution, LLC (No. 21-
  55379)(9th Cir.).................................................................................................... 26


                                                              v
USCA11 Case: 21-13232                    Document: 20            Date Filed: 01/25/2022               Page: 10 of 54



Brief for The Authors Guild, Inc., the American Society of Media Photographers,
  Inc., The Dramatists Guild of America, the Graphic Artists Guild, the Romance
  Writers of America, the Songwriters Guild of America, Inc., and the Textbook &
  Academic Authors Association as Amici Curiae Supporting Appellee, Starz
  Entertainment, LLC v. MGM Domestic Television Distribution, LLC (No. 21-
  55379)(9th Cir.).................................................................................................... 28
Rules

28 U.S.C. § 1338(a) .................................................................................................. 1

17 U.S.C. § 101 et seq. .......................................................................................... i, 1

17 U.S.C. § 410(c) .............................................................................................. 6, 35

17 U.S.C. § 504 ................................................................................................ 19, 22

17 U.S.C. § 504(c)(1) ............................................................................................. 20

17 U.S.C. §§ 201(a) .................................................................................................. 5

17 U.S.C. 504(a)(1)-(2) .......................................................................................... 19

17 U.S.C. § 204(a) .................................................................................................... 5

28 U.S.C. § 1292(b) .................................................................................................. 1

28 U.S.C. §§ 1331 .................................................................................................... 1

FRCP 56(c) ............................................................................................................. 17

FRCP 54(b) ............................................................................................................... 1

FRCP 56(a) ............................................................................................................. 30

U.S. Const. art. I § 8 cl. 8 ....................................................................................... 28




                                                            vi
USCA11 Case: 21-13232       Document: 20       Date Filed: 01/25/2022   Page: 11 of 54



     STATEMENT REGARDING ADOPTION OF BRIEFS OF OTHER
                        PARTIES

      Plaintiffs-Appellants do not desire to adopt the Brief of any other party.


         STATEMENT OF SUBJECT MATTER AND APPELLATE
                        JURISDICTION

       Plaintiffs-Appellants Music Specialist, Inc. (“MSI”) and Sherman Nealy

(“Nealy”) brought the underlying lawsuit alleging copyright infringement pursuant

to the Copyright Act, 17 U.S.C. § 101 et seq. The district court has subject matter

jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a). (Doc. 1; Doc. 741). On June

4, 2021, the district court affirmed and adopted the Magistrate Judge’s report and

recommendation and granted Defendants-Appellees Atlantic Recording Corporation

(“Atlantic”), Warner Chappell Music, Inc. (“Warner”), and Artist Publishing Group,

LLC’s (“Artist”) motion for summary judgment on the two issues presented herein.

(Doc. 224; Doc. 256). On June 21, 2021, the district court certified the two issues

for appeal – one issue (see Statement of the Issues, Issue I) being certified pursuant

to 28 U.S.C. § 1292(b) as a controlling question of law with substantial ground for

a difference of opinion, and one issue (see Statement of the Issues, Issue II) being

certified pursuant to Fed. R. Civ. P. 54(b) as a final judgment from which the district

court correctly concluded there was no just reason to delay an immediate appeal.


1
 The operative complaint is Plaintiffs’ Third Amended Complaint filed on
December 5, 2019.

                                           1
USCA11 Case: 21-13232      Document: 20       Date Filed: 01/25/2022   Page: 12 of 54



(Doc. 262). On July 1, 2021, MSI and Nealy filed a Petition for Permission to Appeal

under 1292(b), which petition was granted (and the appeal noticed) on September

22, 2021 (No. 21-13232). (Doc. 269). MSI and Nealy also timely filed a notice of

appeal pertaining to the FRCP 54(b) issue on July 21, 2021 (No. 21-12458). (Doc.

263). On September 23, 2021, MSI and Nealy filed a motion to consolidate the two

appeals, which motion was granted on December 16, 2021. This Court has

jurisdiction over the district court’s rulings pursuant to 28 U.S.C. § 1292(b) and

FRCP 54(b)2.

                        STATEMENT OF THE ISSUES


I.    Whether the district court erred in relying on Sohm vs. Scholastic, 959 F.3d

39 (2d Cir. 2020) in concluding that, pursuant to the Supreme Court’s holding in

Petrella vs. Metro-Goldwyn-Mayer, Inc., 572 US 662 (2014), the Copyright Act has

a strict damages bar preventing the recovery of damages from infringements

committed more than three years from filing suit, regardless of the discovery rule

dictating when the claims accrued.




2
 On October 1, 2021, this Court proposed a jurisdictional question to the parties as
to the FRCP 54(b) issue – No. 21-12458. Pursuant to this Court’s December 16,
2021 Order, that jurisdictional question is carried with the case. MSI and Nealy’s
October 15, 2021 response to the Court’s jurisdictional question is therefore
incorporated herein.

                                          2
USCA11 Case: 21-13232       Document: 20       Date Filed: 01/25/2022   Page: 13 of 54



II.   Whether the district court entering summary judgment against MSI and Nealy

on the issue of ownership of the MSP-Registered Songs (see Factual Background),

reasoning that MSI and Nealy had produced insufficient evidence to create a genuine

dispute regarding Music Specialist Publishing (“MSP”) being an assumed name of,

and having no legal existence apart from, MSI, constitutes reversible error, when

record evidence existed and was brought to the attention of the district court that

demonstrated precisely that.


                          STATEMENT OF THE CASE

A. Factual Background

      Sherman Nealy (“Nealy”) founded Music Specialist, Inc. (“MSI”) as an

independent record company in 1983. (Doc. 224, at p. 17). Nealy hired a producer

and recording artist named Tony Butler (“Butler”)(professionally known as Pretty

Tony) to assist in the creation of music to be released by MSI. Id. at p. 17-18. In

addition, Butler became the Vice President of MSI. Id. So that MSI could also

publish their musical compositions – i.e., make available to the public and to others

to use – and administer the publishing rights thereto, Nealy later created a publishing

arm, which was called MSP.3 (Doc. 74 at ¶ 22; Doc. 184 at pp. 6, 18). Although at


3
  For clarity, a record label (e.g., MSI and Atlantic) typically releases and controls
copyrights to sound recordings, also known as masters, which are “the fixation of a
series of musical, spoken, or other sounds” (i.e., what you hear on the radio); whereas
a publisher (e.g., MSP, Warner, and Artist) typically licenses and controls copyrights

                                           3
USCA11 Case: 21-13232       Document: 20       Date Filed: 01/25/2022   Page: 14 of 54



times referred to as an affiliate of MSI, MSP was – MSI and Nealy maintain –

actually just an unregistered d/b/a or assumed name of MSI which performed a

separate and singular function, but was operated by the same individuals and located

at the same address as MSI. Id.; see Section II, infra. It is indisputable that MSP was

never incorporated or organized, and no argument has ever been made or evidence

presented to show that MSP was either a sole proprietorship or partnership, which

as MSI and Nealy maintain, it was not.

      Between 1983 and 1986, Butler and the other recording artists engaged by

MSI/MSP created, i.e., wrote and produced, a number of different musical

compositions and released a number of different sound recordings. (Doc. 224, at p.

17-18). Currently relevant to this appeal are three musical compositions – (1) “Jam

the Box”, (2) “I Know You Love Me”, and (3) “Computer Language” (the “MSP




in musical compositions, which are the actual “music, including any accompanying
words” (e.g., sheet music). Copyright Registration of Musical Compositions and
Sound Recordings,
https://www.copyright.gov/register/pa-
sr.html#:~:text=A%20Sound%20Recording%20results%20from%20the%20fixatio
n%20of,fixes%20them%20in%20the%20final%20recording%2C%20or%20both.
The copyrights to sound recordings and musical compositions are separate and
distinct rights which can be registered, transferred, and protected. Id.


                                           4
USCA11 Case: 21-13232       Document: 20        Date Filed: 01/25/2022   Page: 15 of 54



Registered Songs”). Id. at pp. 26-27; (Doc. 256, at p. 3-7).45 As a basis for the

underlying lawsuit, MSI and Nealy contend, and no direct evidence refuting such

contention has been presented, that the copyrights to both the MSI-Registered Songs,

see note 4, and the MSP-Registered Songs (collectively, the “Musical Works”), were

transferred to MSI and MSP by Butler – the sole author of each – by way of written

transfer agreements, and as works for hire6, during his time working for MSI. (Doc.

184, at p. 14-22; Doc. 256, at p. 10-11).



4
  Also relevant to the underlying lawsuit are the musical compositions “Lookout
Weekend” and “The Party Has Begun” (the “MSI-Registered Songs”). MSI and
Nealy defeated summary judgment on the issue of ownership as to the MSI-
Registered Songs based on their production of certificates of copyright registration
naming MSI as the copyright claimant and additional evidence supporting their
contention that Butler’s copyrights – which initially vest with the author of a work
and remain with that author unless he has transferred the copyright to another party
in a signed writing, see 17 U.S.C. §§ 201(a) and 204(a) – were, in fact, transferred
to them by Butler as required by copyright law. (Doc. 224, at pp. 23-34; Doc. 256,
at pp. 10-11).
5
  The sounds recordings “When I Hear Music,” “Fix It In the Mix,” and “Freestyle
Express,” – which were at one point a part of the underlying lawsuit –were removed
by stipulation of the parties because insufficient evidence existed that Atlantic,
Warner, and/or Artist exploited those sound recordings and earned monies
therefrom. (Doc. 231, at ¶ 2; Doc. 256, at p. 10).
6
 A “work made for hire” is a legal term that means “the employer – not the employee
(composer) – is considered the legal author [and therefore] the employee is not
entitled to the work’s publishing rights despite the fact that they were the composer.”
What Does it Mean When a Song is a “Work For Hire”?,
https://help.songtrust.com/knowledge/what-does-it-mean-when-a-song-is-a-work-
for-hire.


                                            5
USCA11 Case: 21-13232        Document: 20       Date Filed: 01/25/2022   Page: 16 of 54



      And, despite no longer being able to produce the actual written transfer

agreements from Butler, which were entered into over thirty-five years ago, MSI and

Nealy have produced certificates of copyright registration from the United States

Copyright Office (“Copyright Office”) for each of the Musical Works. (Doc. 224, at

p. 23-27; Doc. 176-10, at pp. 1-15). Those certificates, which pursuant to 17 U.S.C.

§ 410(c) constitute prima facie evidence7 of the validity of the copyright and the

facts provided on the face of the certificate, each indicate (as MSI and Nealy have

asserted) that Butler’s rights in the Musical Works were transferred to MSI and MSP

by way of written transfer agreements and/or as works for hire. (Doc. 175, at p. 5;

Doc. 176-10, at pp. 1-15); see Section II, infra. As discussed in depth below, in

addition to the facts provided on the face of the certificates, in subsequent litigations

concerning the Musical Works, Butler himself has admitted to having transferred all

of his copyrights to MSI and MSP.

      Also important, as it relates to the copyright certificates and the instant appeal

of the district court’s ruling that MSI and Nealy do not have standing to assert

ownership of the MSP-Registered Songs are the following facts in the record: (1) as

provided on the certificates for “Jam the Box” and “I Know You Love Me” (two of


7
 To constitute prima facie evidence under § 410(c) the certificates must also be
“made before or within five-years after first publication of the work.” All of MSI
and Nealy’s certificates satisfy this requirement. (Doc. 175, at p. 5; Doc. 176-10, at
pp. 1-15).


                                            6
USCA11 Case: 21-13232         Document: 20       Date Filed: 01/25/2022   Page: 17 of 54



the MSP-Registered Songs) correspondence pertaining to the musical compositions

was directed to MSI corporate Secretary Tara Washington (“Washington”) at

“Music Specialists, Inc., 67 N.W. 71st Street, Miami, FL 33150.” (Doc. 176-10, at

pp. 6, 12; Doc. 248, at p. 6-7) Washington signed the registration “for” and as “the

authorized agent of Music Specialist Publishing,” id.; (2) former MSI legal

consultant Jonathan Black testified that when he was brought on to help setup MSI’s

publishing catalog at the end of 1985, he began using MSP as the copyright claimant

on the copyright registrations in order to “separate the record operations from the

publishing operations,” (Doc. 248, at p.8); and (3) Black also testified that he

personally prepared the songwriter agreement whereby Butler transferred his

copyrights in “Jam the Box” and “I Know You Love Me” to MSP – and personally

prepared the corresponding copyright registration for those musical compositions –

all during his time working with MSI. (Doc. 248, at p. 3-4). In addition, Black, as

well as Nealy himself, and former MSI recording artist Garfield Baker each testified

in depositions in the underlying lawsuit that MSP was a d/b/a, and the publishing

arm, of MSI. Id. at p. 6-9.

      In 1988, Nealy was sentenced to twenty-years in prison. (Doc. 165, at p.

2-3; Doc. 184, at p. 7-8). Aware that Nealy was behind bars, that MSI had been

administratively dissolved for failure to pay corporate fees, and that, as author of the

musical compositions he could hold himself out to be the owner of MSI and MSP’s



                                             7
USCA11 Case: 21-13232       Document: 20       Date Filed: 01/25/2022   Page: 18 of 54



copyrights – notwithstanding his previous transfer of those rights to MSI and MSP

– Butler (who had just completed a short prison stay himself) began unlawfully

transferring and licensing MSI and MSP’s copyrights in the Musical Works to third

parties without MSI and Nealy’s knowledge or consent. (Doc. 165, at p.2-3). Butler

first transferred and licensed the works to companies named Pandisc Music Corp.

(“Pandisc”) and Whooping Crane Music, Inc. (“Whooping Crane”), who filed suit

against Butler in 2006 claiming to own the copyrights which Butler was

subsequently attempting to transfer and license elsewhere (the “2006 Case”). (Doc.

167-10). Responding to Pandisc and Whooping Crane’s complaint in the 2006 Case,

Butler (filing pro se), admitted that “100% of the copyrights in the compositions” at

issue, which included the MSI-Registered Songs and “I Know You Love Me” (an

MSP-Registered Song) had been transferred by him to, and were owned and

controlled by, Music Specialist, Inc.” (Doc. 167-10, at ¶¶ 13, 16, 18; Doc. 185-12,

at ¶ 16, 18). He further admitted that the rights in the musical compositions were

never transferred by MSI. (Doc. 185-12, at ¶18).

      With the 2006 Case still pending, Butler licensed “Jam the Box” to Atlantic

sometime prior to March of 2008, and undisputedly Atlantic recording artist Flo-

Rida used the musical composition in his hit song “In the Ayer.” (Doc. 224, at p. 3).

Shortly thereafter, in July of 2008, Butler entered into an exclusive worldwide

publishing administration agreement, pursuant to which he transferred and licensed



                                           8
USCA11 Case: 21-13232       Document: 20       Date Filed: 01/25/2022   Page: 19 of 54



the copyrights in the Musical Works to Warner and Artist through a company named

321 Music, LLC (“321”), which was created in 2007 and wholly owned by Butler.

Id. In 2009 Pandisc and Whooping Crane filed suit against 321, Atlantic, Warner,

and Artist for copyright infringement (the “2009 Case”). (Doc. 185-9). In its

countercomplaint in the 2009 Case, 321 (i.e., Butler) claimed to have “obtained [the

copyrights in all of the Musical Works] from Tony Butler and Music Specialist

Publishing (Music Specialist).” Id. at p.9, ¶ 8 (emphasis added). Importantly, 321

listed each of the Musical Works, including the year of registration and the copyright

number (all of which correspond the MSI and Nealy’s copyright certificates), and

admitted that MSP “owned the music since its creation.” Id. at ¶¶ 8, 10, 13, 23, 24,

32; (Doc. 168-10, at pp. 1-15). As Exhibit B to the countercomplaint, 321 attached

the Copyright Office’s full catalog of musical compositions and sound recordings

registered by MSI and MSP, which showed that the MSI-Registered Songs were

registered in the name of MSI and the MSP-Registered Songs were registered in the

name of MSP. (Doc. 185-9, at pp. 22-24).

      To clarify, Butler admitted in the 2006 Case that 100% of his copyrights in

the MSI-Registered Songs and “I Know You Love Me” (an MSP-Registered Song)

had been transferred to and were owned by MSI. Then in the 2009 Case, 321 (i.e.,

Butler) admitted that Butler’s copyrights in the Musical Works (most importantly,

as it relates to this appeal, the MSI-Registered Songs) were owned by MSP “since



                                           9
USCA11 Case: 21-13232       Document: 20       Date Filed: 01/25/2022   Page: 20 of 54



[their] creation.” By stating that the copyrights in “I Know You Love Me” (an MSP-

Registered Song) were transferred to and owned by MSI and then that the MSI-

Registered Songs (as well as “I Know You Love Me”) had been owned by MSP

since their creation, Butler – the former Vice President of MSI and the sole author

of the Musical Works, and thus, the only person legally entitled to originally transfer

the copyrights – confirmed that MSI and MSP were one in the same entity, and that

he had transferred his rights in the Musical Works to that entity as provided on the

copyright certificates.

      Butler’s assertion that MSI/MSP transferred copyrights back to him, or to his

company 321, however, is patently false. Atlantic, Warner, and Artist – who were

transferred and licensed the rights in the musical works from Butler and 321, and

were co-defendants with 321 in the 2009 Case – have never produced and have never

even represented to have seen such agreements. Despite this undeniable fact,

Atlantic, Warner, and Artist joined in Butler’s false allegation by asserting, as an

affirmative defense, that Pandisc and Whooping Crane’s claim of ownership over

the copyrights was “barred by virtue of a successive agreement covering the same

musical works.” (Doc. 185-13, at pp. 13, 29). The only conceivable “successive

[transfer] agreements” they could be referring to would be (1) an agreement between

MSI/MSP and Butler and then a subsequent agreement between Butler and 321 or

(2) an agreement between MSI/MSP and 321 and then subsequent agreements from



                                          10
USCA11 Case: 21-13232       Document: 20      Date Filed: 01/25/2022   Page: 21 of 54



321 to them. However, it has not and cannot be disputed that MSI/MSP never once

transferred the copyrights in the Musical Works to any third party, including Butler

and 321. (Doc. 224, at p. 21).Thus, the “successive agreements” were a complete

and utter fabrication.89

      Even more, by agreeing with Butler and 321’s claims that MSP owned the

copyrights in the Musical Works (specifically, the MSI-Registered Songs) from their

creation – as they had to have in order to assert that the first of the “successive

agreements” occurred – Atlantic, Warner, and Artist were, at least implicitly,

acknowledging that MSI and MSP were one in the same entity. This is so because if



8
  It is hard to imagine that Atlantic, Warner, and Artist – three of the largest music
entities on the planet – would not have at least performed a review of the Copyright
Office’s website or records to verify 321 and Butler’s claims of ownership. Even a
cursory review, would have quickly alerted them to the fact that the copyrights
Butler was purporting to own had been registered by MSI and MSP some twenty-
five years prior, and it would seem, prompt them to request proof that MSI and MSP
had transferred the copyrights back to him or to 321. Coupled with the fact that they
have never produced the agreement(s) or even represented to have seen them, it
logically follows that they were fully aware that the claim – that MSP (as well as
MSI, as would be legally required) transferred the copyrights back to Butler or 321
– was false at the time they made it.
9
 Of note, at the relevant time, well-known music producer and executive Mike Caren
was the senior vice president of artists and repertoire at Atlantic, where he was in
charge of finding artists, securing licenses for musical compositions, and producing
music – as he did with Flo-Rida, “Jam the Box,” and “In the Ayer.” (Doc. 185, at p.
17, ¶¶ 89-90). Caren was also the sole owner and controlling officer of Artist, which
was 50% owned by Warner. Id.. Accordingly, any relevant fact known by one of
Atlantic, Warner, or Artist would be known by, or at the very least should be
reasonably imputed to, the other entities.

                                         11
USCA11 Case: 21-13232        Document: 20       Date Filed: 01/25/2022   Page: 22 of 54



the entities were not one in the same, then it would only have been MSI who could

have transferred the rights to the MSI-Registered Songs and only MSP who could

have transferred the rights to the MSP songs; and any argument whatsoever that

Atlantic, Warner, and Artist did not perform at least minimal due diligence, i.e.,

checking the Copyright Office website or records, before entering into their

agreements with Butler and 321 (and therefore did not know that the musical

compositions “Lookout Weekend” and “The Party Has Begun” had been registered

in the name of MSI) is entirely unbelievable. Like Butler, however, in the underlying

lawsuit, Atlantic, Warner, and Artist simply cherry-picked facts and cleverly altered

their narrative to prevent MSI and Nealy from recovering monies rightfully owed to

them.10

      Nealy was released from prison in March of 2008, but served a second prison

term from early 2012 to approximately September of 2015. (Doc. 184, at pp. 11-12).

Nealy was removed from the music business and his associates within it throughout

his two incarcerations and was never notified (through subpoena or otherwise) of the

2006 Case, the 2009 Case, or any of the other litigations or agreements pertaining to



10
  Had the parties to the 2009 Case not settled the case by entering into a mediated
settlement agreement and subsequent amendment thereto – both of which were
subsequently adjudicated fraud ab initio – it is likely that the truth (i.e., that MSI and
MSP were the true owners of the copyrights in the Musical Works) would have
eventually been revealed, and the underlying lawsuit would have never been
necessary. (Doc. 184, at p. 11).

                                           12
USCA11 Case: 21-13232       Document: 20      Date Filed: 01/25/2022   Page: 23 of 54



the Musical Works. (Doc. 185, at p. 16, ¶ 88). Not until January of 2016, did Nealy

first learn that Butler transferred and licensed the copyrights in the Musical Works

to Atlantic, Warner, and Artist, and that those entities had been using and exploiting

the Musical Works dating back to 2008. Id.

B. Procedural History

      The underlying lawsuit was commenced on December 28, 2018 – within three

years of Nealy learning of Atlantic, Warner, and Artist’s infringements in January

of 2016. (Doc. 1). The parties filed cross motions for summary judgment on October

26, 2020, and responses and replies thereto on November 16, 2020 and December 4,

2020, respectively. (Docs. 165-167; Docs. 175-176; Docs. 182-185; Docs. 190-192).

      On March 8, 2021, the Magistrate Judge issued a report and recommendation,

in which the Magistrate Judge recommended and concluded as follows: (1) MSI and

Nealy could not bring suit on behalf of MSP for the MSP-Registered Songs because

there was “no evidence in the record to support a finding that [MSI] ha[s] an

ownership interest” in those songs and “nothing in the record that supports the

allegation that MSP was created to administer the publishing rights to compositions

owned by MSI”; (2) that Atlantic, Warner, and Artist had rebutted the presumption

of ownership afforded the certificates for the MSI-Registered Songs; but (3) that

considering the other evidence in the record that Butler had transferred his

copyrights to MSI, including the testimony of Nealy and the evidence of the transfer



                                         13
USCA11 Case: 21-13232      Document: 20      Date Filed: 01/25/2022   Page: 24 of 54



on the certificates for the MSI-Registered Songs themselves, the issue of ownership

as to the MSI-Registered Songs was not subject to summary judgment. (Doc. 224,

at pp. 23-34). The Magistrate Judge also recommended and concluded that (1) the

underling lawsuit sounds in “ownership, as opposed to infringement,” see note 11,

infra; (2) an “ownership claim … accrues once, at the time the plaintiff learns or

should have learned that the defendant was violating his ownership rights,” (Doc.

224, at pp. 35-36); and (3) MSI and Nealy’s claims should not be barred at the

summary judgment stage by the statute of limitations because based on Nealy’s

testimony and the other evidence in the record, “reasonable minds could differ on

whether Nealy” brought the underlying lawsuit within three-years of “discover[ing]

that [the] Defendants were infringing on” MSI and Nealy’s copyrights. Id. at pp. 34-

41. Inexplicably, as MSI and Nealy explained in their objections to the report and

recommendation, the Magistrate Judge opined that the “discovery rule [wa]s not at

issue” despite citing to Habersham Plantation Corp. v. Molyneux, No. 10-61526-

CIV-DIMITROULEAS, 2011 U.S. Dist. LEXIS 117511 (S.D. Fla. Aug. 19, 2011)

– in which the Southern District of Florida adopted the discovery rule and

approvingly cited to Polar Bear in denying the defendants’ summary judgment

motion because the defendants could not “demonstrate, by undisputed facts, that

Plaintiff ‘knew or reasonably should have known’ of those acts of infringement

occurring more than three years before the lawsuit was filed,” id. at *14–16 – and



                                        14
USCA11 Case: 21-13232         Document: 20    Date Filed: 01/25/2022   Page: 25 of 54



concluding that MSI and Nealy’s claims accrued at the time he learned the defendant

were violating his ownership rights, i.e., committing infringement. (Doc. 224, at p.

35-37; Doc. 248, at pp. 10-15). The Magistrate Judge concluded that MSI and Nealy

“conflate[d] the issue of when the action accrues, the discovery rule, and how far

back they can seek damages,” however, as explained in the depth in Section I below,

separating the two – as Sohm did – is inherently self-contradictory and makes no

practical sense. Id. at note 6.

       The district court affirmed and adopted the report and recommendation on

June 4, 2021. (Doc. 224; Doc. 256). Pursuant to the summary judgment order,

Atlantic – whose sole alleged infringement was of “Jam the Box” (an MSP-

Registered Song) – was dismissed from the case, and thus, the district court also

entered final judgment in favor of Atlantic on June 4th. (Doc. 257). On June 21, 2021,

upon joint request of the parties by way of an ore tenus motion, the district court

certified the two issues contained herein for immediate appeal and administratively

closed the case pending the result. (Doc. 260; Doc. 262).

C. Rulings for Review

       MSI and Nealy seek review of two rulings contained in the district court’s

summary judgment order.

       First, the district court’s reliance on the Second Circuit’s interpretation of

Petrella in Sohm. The district court explained that (1) Petrella “explicitly delimited


                                         15
USCA11 Case: 21-13232       Document: 20       Date Filed: 01/25/2022   Page: 26 of 54



damages to the three years prior to the filing of a copyright infringement action”

without exception, and that (2) Sohm “persuasively reasoned” that Petrella’s holding

– “that laches was inapplicable to actions under the Copyright Act” – was “partially

based ‘on the conclusion that the statute itself takes account of the delay by limiting

damages to the three-years prior to when suit is filed.’” (Doc. 256, at pp. 7-8).

Because “[t]he three year limitation on damages was … an integral part of the result

in Petrella,” the district court explained, it constituted “binding precedent.” Id.

Implicitly, the district court also agreed with Sohm that Petrella – which originated

in the Ninth Circuit itself – had overturned the Ninth Circuit’s holding in Polar Bear

Productions, Inc. v. Timex Corp., 384 F.3d 700, 705-06 (9th Cir. 2004) that 17 U.S.C.

“§ 507(b) permits damages occurring outside of the three-year window, so long as

the copyright owner did not discover-and reasonably could not have discovered-the

infringement before the commencement of the three-year limitation period.” Id.

      Second, the district court’s holding that MSI and Nealy did not present

sufficient evidence to create a genuine issue of material fact regarding MSI’s

ownership of the MSP-Registered Songs. The district court reasoned that the

deposition testimony of Nealy, Jonathan Black, and Garfield Baker on the issue was

“speculative … uncorroborated and contradictory,” and that MSI and Nealy

presented no corroborating documentary evidence of the d/b/a relationship.

Ultimately, the district court explained that MSI and Nealy needed to “establish[]



                                          16
USCA11 Case: 21-13232       Document: 20      Date Filed: 01/25/2022   Page: 27 of 54



that MSP had no legal existence apart from MSI and was no more than an assumed

name … [to] receive the benefit of the presumption of legal ownership based on the

copyright registrations for the MSP-Registered Songs,” and defeat summary

judgment. Id. at pp. 3-7.

D. Standard of Review

      This Court is required to make an “independent[] review” of an order granting

summary judgment; examining the decision through application of “the same legal

standards” as those of the district court. Thrasher v. State Farm Fire & Cas. Co.,

734 F.2d 637, 638 (11th Cir. 1984) (citing Morrison v. Washington County,

Alabama, 700 F.2d 678 (11th Cir. 1983) and Environmental Defense Fund v. Marsh,

651 F.2d 983, 991 (5th Cir.1981). Thus, this Court is to “review the evidence and all

factual inferences therefrom in a light most favorable to” MSI and Nealy; resolve all

“reasonable doubts about the facts … in favor of” MSI and Nealy; and ultimately

determine whether “any genuine issue of material fact exists.” Id. at 638-39 (citing

FRCP 56(c) and Casey Enterprises v. Am. Hardware Mutual Insurance Co., 655

F.2d 598, 602 (5th Cir.1981)(internal citations omitted).

      The plaintiff is not required to prove his or her case in order to withstand a

motion for summary judgment. Harris v. H & W Contracting Co., 102 F.3d 516, 521

(11th Cir. 1996). Moreover, as to motions for summary judgment, this Court has

stated that “[s]ummary judgment is a lethal weapon, and courts must be mindful of


                                         17
USCA11 Case: 21-13232       Document: 20      Date Filed: 01/25/2022   Page: 28 of 54



its aims and targets and beware of overkill in its use.” Tippens v. Celotex Corp., 805

F.2d 949, 952-53 (11th Cir. 1986). Accordingly, this Court reviews de novo the

district court's grant of a motion for summary judgment. Turnes v. AmSouth Bank,

N.A., 36 F.3d 1057, 1060 (11th Cir.1994).

                      SUMMARY OF THE ARGUMENTS

      Issue 1: The district court incorrectly relied on the Second Circuit’s inherently

self-contradictory holding in Sohm, which also contradicts the plain language of the

Copyright Act, erroneously interprets Petrella, and has been widely-criticized by

district courts and experts throughout the country for its impact on the discovery

rule, as well as its impact on artists and their rights. This Court, which has not yet

had occasion to address this issue, should refuse to adopt the Sohm holding, and

instead adopt the Ninth Circuit’s Polar Bear-Discovery Rule Exception, which

provides for the recovery of damages more than three years from the date a civil

action under the Copyright Act is commenced when the discovery rule applies.

      Issue 2: The district court usurped functions appropriately carried out by the

jury, including making credibility determinations and weighing evidence,

disregarded record evidence, and did not make factual inferences in favor of MSI

and Nealy. If the district court had properly applied a summary judgment standard

to the evidence presented by MSI and Nealy, and otherwise contained in the district

court record, they would have correctly concluded that such evidence is more than



                                         18
USCA11 Case: 21-13232        Document: 20       Date Filed: 01/25/2022   Page: 29 of 54



sufficient to permit a reasonable jury to find in favor of MSI and Nealy on the issue

of MSI’s ownership of the MSP-Registered Songs. As such, the district court’s

holding was erroneous.


                                    ARGUMENT

I. The Sohm Holding Contradicts Well-Established Copyright Law and
   Erroneously Interprets Petrella. This Court Should Therefore Adopt the
   Ninth Circuit’s Polar Bear-Discovery Rule Exception, Which Provides That
   § 507(b) Permits Damages Occurring Outside of the Three-Year Window,
   So Long as the Copyright Owner Did Not Discover- and Reasonably Could
   Not Have Discovered- the Infringement Before the Commencement of the
   Three-Year Limitations Period. The Polar Bear-Discovery Rule Exception
   Has Been Repeatedly Followed By Courts in the Ninth Circuit and
   Elsewhere Both Pre-and Post-Sohm and Will Likely Be Reinforced By the
   Ninth Circuit Once More in the Starz Case Currently Pending Before It.

      Title 17 U.S.C. § 507(b) – limitations on actions under the Copyright Act –

states: “No civil action shall be maintained under the provisions of this title unless

it is commenced within three years after the claim accrued.” § 507(b). And, 17

U.S.C. § 504 – remedies for infringement – states: “Except as otherwise provided

by this title, an infringer of a copyright is liable for either (1) the copyright owner’s

actual damages and any additional profits of the infringer ... or (2) statutory

damages.” 17 U.S.C. 504(a)(1)-(2). Read in conjunction, provided a claim for

infringement under the Copyright Act is timely commenced, i.e., commenced within

three years after the claim accrued, a successful plaintiff is entitled to any damages

associated therewith. See §§ 507(b); 504(a)(1)(2)(emphasis added). In fact, §



                                           19
USCA11 Case: 21-13232       Document: 20      Date Filed: 01/25/2022   Page: 30 of 54



504(c)(1) provides insight into the legislature’s intent by expressly providing that a

plaintiff is entitled to “statutory damages for all infringements.” 17 U.S.C. §

504(c)(1)(emphasis added). Apart from explanations of how actual damages (and

profits) and statutory damages are proven and computed, no further limitations on

damages (specifically, retrospective damages) can be found within the Copyright

Act.

       A. The Discovery Rule – When the Plaintiff Learns or Should Have
          Learned of the Defendant’s Infringement – Applies to the Accrual of
          Copyright Claims.

       This Court has held that copyright claims accrue “when the plaintiff learns, or

should as a reasonable person have learned, that the defendant was violating his

ownership rights,” i.e., committing infringement. Webster v. Dean Guitars, 955 F.3d

1270, 1276 (11th Cir. 2020)11 (citing Calhoun v. Lillenas Publ'g, 298 F.3d 1228,

1236 (11th Cir. 2002)(Birch, J., concurring)(a copyright infringement claim's

“limitations period may be triggered when a plaintiff knows or, in the exercise of


11
  Although Webster differentiated a copyright “ownership” claim, i.e., a claim where
the “gravamen” or “only disputed issue” remaining was ownership from an
“ordinary copyright infringement claim,” where “there [remains] a dispute over
whether the defendant actually used or created something ‘substantially similar’ to
plaintiff’s work,” MSI and Nealy contend (as Webster seemingly implied by citing
to Calhoun) that this is a distinction without a difference. Webster, 955 F.3d 1270 at
1277. Nevertheless, the issue is of no matter here, as Atlantic, Warner, and Artist
admit to having used and exploited the Musical Works, and thus, the only dispute
remaining – aside from an assessment of damages – is whether MSI and Nealy own
the copyrights in the Musical Works.


                                         20
USCA11 Case: 21-13232       Document: 20      Date Filed: 01/25/2022   Page: 31 of 54



reasonable diligence, should have known about an infringement”). This accrual

concept, despite not expressly referred to as such by this Court in Webster, is known

as the discovery rule, and virtually every other federal circuit court that has

addressed the issue is in agreement that the discovery rule applies to the accrual of

copyright claims. See William A. Graham Co. v. Haughey, 568 F.3d 425, 433 (3rd

Cir. 2009) (“Although we have not previously addressed this issue, eight of our sister

courts of appeals have applied the discovery rule to civil actions under the Copyright

Act.”); Petrella, 572 U.S. 663 at note 4 (“Although we have not passed on the

question, nine Courts of Appeals have adopted, as an alternative to the incident of

injury rule,12 a ‘discovery rule,’ which starts the limitations period when the

‘plaintiff discovers, or with due diligence should have discovered, the injury that

forms the basis for the claim.”); Sohm, 959 F.3d at 50 (“the discovery rule applies

for statute of limitations purposes in determining when a copyright infringement

claim accrues”).

      Thus, it would follow that, pursuant to § 507(b), a plaintiff who commences

a claim under the Copyright Act within three years of the date upon which his claims

accrued – i.e., the date which he learned or should have learned that the defendant


12
  The incident of injury rule, also known as the separate accrual rule, is the concept
that “the statute of limitations runs separately for each infringement,” meaning a
separate infringement claim accrues, and “a new limitations period” begins to run,
each time an infringer “commits a new wrong.” Petrella, 572 U.S. at 671 (quoting
Stone v. Williams, 970 F.2d 1043, 1049 (C.A.2 1992)).

                                         21
USCA11 Case: 21-13232       Document: 20      Date Filed: 01/25/2022   Page: 32 of 54



was violating his ownership rights, or infringing his copyrights – would be entitled

to any and all damages associated with such infringement, as outlined in § 504(a).

And, this is exactly the result the Ninth Circuit came to in Polar Bear. Polar Bear,

384 F.3d at 705-06 (“§ 507(b) permits damages occurring outside of the three-year

window, so long as the copyright owner did not discover-and reasonably could not

have discovered-the infringement before the commencement of the three-year

limitation period.”).

       B. Petrella is Consistent With § 507(b) and Did Not Overrule Polar Bear.

      In Petrella, the Supreme Court addressed whether a laches defense was

available to preclude a copyright owner from bringing a claim that would have

otherwise been timely under § 507(b). Petrella, 572 U.S. at 671. Petrella centered

around defendant, MGM’s, use and distribution of the film Raging Bull, which was

based in part on a screenplay co-authored and copyrighted by the plaintiff’s father,

Frank Petrella, in 1963. Id. Frank Petrella and his co-author (Jake LaMotta, whose

life was the subject of the film) had “assigned their rights and the renewal right” in

1976. Id. at 663. Having acquired the rights, in 1980 MGM released the film. Id. In

1991, Frank Petrella’s daughter, Paula (the plaintiff), renewed the 1963 copyright

and became “its sole owner.” Id. Due to the film’s notoriety and her father’s prior

copyright assignment, there was no question that the plaintiff was aware of her

infringement claim as of the 1991 renewal, yet she did not contact MGM until 1998



                                         22
USCA11 Case: 21-13232        Document: 20       Date Filed: 01/25/2022   Page: 33 of 54



to assert her rights and did file suit against MGM until 2009. Id. MGM “invoke[ed]

the equitable doctrine of laches,” arguing that the plaintiff’s “18-year delay in filing

suit … was unreasonable and prejudicial,” and the suit should therefore be

dismissed. Id. at 664. The Ninth Circuit agreed and dismissed the case. Id.

      On appeal, the Supreme Court overturned the dismissal, holding that “[l]aches

cannot be invoked” to “bar … a claim for damages brought within § 507(b)’s three-

year window.” Id. The Supreme Court reasoned that a “copyright claim arises or

‘accrues’ when an infringing act occurs,” i.e., the separate accrual rule. Id. at 671.

However, the Court explained, a copyright owner is not required to “challenge each

and every actionable infringement,” and § 507(b)’s Congressionally-created

limitations period intentionally allows a “copyright owner to defer suit until she can

estimate whether litigation is worth the candle.” Id. at 683. If a copyright holder is

aware of an infringement and decides to wait though, “she will miss out on damages

for periods prior to the three-year look-back” from filing suit. Id. In short, “[b]y

permitting a successful plaintiff to gain retrospective relief only three years back

from the time of suit, the copyright statute of limitations itself [§ 507(b)] takes

account of [the] delay.” Id at 664.

      Clearly, and inconsistent with the holdings in Sohm and the district court in

the underlying lawsuit, the “delay” refers to the delay in filing suit by a plaintiff who

is fully aware of a defendant’s infringement. Unquestionably, Petrella was not a



                                           23
USCA11 Case: 21-13232        Document: 20       Date Filed: 01/25/2022   Page: 34 of 54



discovery rule case. The Petrella Court merely addressed the wide-spread adoption

of the discovery rule in a footnote – not passing on it one way or another – and never

once mentioned Polar Bear; the Ninth Circuit’s discovery rule case. (emphasis

added). As numerous post-Petrella courts within the Ninth Circuit have explained,

Petrella “set forth the rolling approach to the statute of limitations in a non-discovery

rule case,” i.e., in a separate accrual case, but Petrella “did not affect the Ninth

Circuit’s discovery rule,” established by Polar Bear, which “operates as an

exception to the general principle that damages are only recoverable for infringing

acts within three years of filing suit.” Starz Ent., LLC v. MGM Domestic Television

Distribution, LLC, 510 F.Supp.3d 878, 884 (C.D. Cal. Jan. 5, 2021), motion to certify

appeal granted, No. CV 20-4085-DMG (KSX), 2021 WL 945237 (C.D. Cal. Feb.

22, 2021)(appeal currently pending)13; see Menzel v. Scholastic, Inc., No. 17-CV-

05499-EMC, 2019 WL 6896145, at *6-7 (N.D. Cal. Dec. 18, 2019)(“Petrella did

not clearly create a damages bar independent of a time bar. The discovery rule and

the ability to recover damages consistent with that rule was not at issue.” Thus, Polar

Bear continues to be binding precedent on this Court, and, in Polar Bear, the Ninth

Circuit made clear that a plaintiff can be awarded damages outside of the three-year

period before the filing of his complaint.”). Despite the district court’s opinion in the


13
  Notably, despite MSI and Nealy’s reliance on Starz in their objections to the report
and recommendation, the district court never once acknowledged the case in its
summary judgment order. (Doc. 248, at pp.10-15; Doc. 256, at pp.7-8).

                                           24
USCA11 Case: 21-13232       Document: 20       Date Filed: 01/25/2022   Page: 35 of 54



underlying lawsuit, this Court should concur in the holdings of other post-Petrella

courts and agree that Petrella is not “binding precedent” on this issue.

      C. Sohm’s Holding is Inherently Self-Contradictory, Undermines the
         Discovery Rule, and Has Been Widely Criticized.

      In Sohm, the Second Circuit – the only federal circuit which has addressed the

strict damages bar issue post-Petrella – held that “the discovery rule applies for

statute of limitations purposes in determining when a claim accrues under the

Copyright Act.” Sohm, 959 F.3d at 50. However, in reversing the district court’s

ruling that damages outside the three-year window were recoverable, the court held

that “in Petrella, the Supreme Court explicitly delimited damages to the three years

prior to the commencement of a copyright action.” Id. at 52. As explained above

(and below), that is simply not the case, as Petrella dealt with the equitable doctrine

of laches being asserted as a defense to shorten § 507(b)’s clear-cut three-year

limitations period for a plaintiff who was fully aware of the defendant’s infringement

more than three-years from the date the suit was filed. Petrella was not a discovery

rule case and certainly did not address what damages were recoverable when the

discovery rule dictated the accrual of the plaintiff’s copyright claims.

      As Law Professor Tyler T. Ochoa of Santa Clara University of Law – “a

recognized expert in US copyright law … [and] sole author of the annual updates to

the West treatise The Law of Copyright, by the late Howard B. Abrams,” among a

plethora of other accolades – explained in his Amicus Brief In Support of Starz

                                          25
USCA11 Case: 21-13232       Document: 20       Date Filed: 01/25/2022   Page: 36 of 54



Entertainment, LLC (see Starz, supra), Sohm’s “dual holding is inherently self-

contradictory.” Brief for Professor Tyler T. Ochoa as Amici Curiae Supporting

Appellee, Starz Entertainment, LLC v. MGM Domestic Television Distribution,

LLC at *14 (No. 21-55379)(9th Cir.). Professor Ochoa went on to concisely explain

his conclusion:

                    Under Petrella’s separate-accrual rule, any damages
                    resulting from infringements that occurred within three
                    years of filing can already be recovered under the three-
                    year statute of limitations, even if the plaintiff had been
                    long aware that the defendant was infringing. The discovery
                    rule is only needed or useful to recover damages for
                    infringements that occurred more than three years before
                    suit was filed, in those cases in which a plaintiff was
                    blamelessly ignorant that those infringements had occurred.

                    By limiting damages to three years before the date the suit
                    was filed, the court in effect was adopting an injury rule of
                    accrual, even though it claimed that it was using the discovery
                    rule of accrual. Sohm effectively eliminates the discovery rule
                    while purporting to preserve it.

Id. (emphasis in the original). The district court in Starz agreed with Professor

Ochoa’s conclusion that adopting Sohm’s interpretation of Petrella would

“’eviscerate’ the well-established discovery rule” because “[i]f plaintiffs cannot

recover for infringements that occurred more than three years before the lawsuit was

commenced, even if they were not aware of the infringements, then the discovery

rule serves no practical purpose.” Starz, at *6.




                                          26
USCA11 Case: 21-13232        Document: 20       Date Filed: 01/25/2022   Page: 37 of 54



      Pre- and post-Sohm, the Second Circuit’s interpretation of Petrella has been

rejected by district courts in the First, Third, Fourth, Fifth, Sixth, Seventh, and Ninth

Circuits. See e.g., Mitchell v. Capitol Recs., LLC, 287 F. Supp. 3d 673, 678 (W.D.

Ky. 2017)(“the Court agrees with Mitchell that the discovery rule has not been

abrogated by Petrella and that it remains the standard to be applied in copyright

infringement cases in the Sixth Circuit.”); D’Pergo Custom Guitars, Inc. v.

Sweetwater Sound, Inc., 516 F. Supp. 3d 121, 135 (D.N.H. 2021) (“After conducting

another close reading of Petrella in light of Sohm, this court respectfully disagrees

with the Second Circuit's interpretation.”); Richardson v. Kharbouch, No. 19-C-

02321, 2020 WL 1445629, at *6-7 (N.D. Ill. Mar. 25, 2020); Krist v. Scholastic, Inc.,

253 F. Supp. 3d 804, 811-12, 812 n.44 (E.D. Pa. 2017); Topline Sols., Inc. v. Sandler

Sys., Inc., No. ELH-09-3102, 2017 WL 1862445, at *21 (D. Md. May 8, 2017); Alfa

Laval Inc. v. Flowtrend, Inc., No. H-14-2597, 2016 WL 2625068, at *5-6 (S.D. Tex.

May 9, 2016).

      D. Wide-Spread Adoption of Sohm Would Incentivize Infringement, Place
         an Unnecessary Burden on Artists, and Harm the Public.

      In addition to Professor Ochoa, an amicus brief in support of Starz was also

filed by The Authors Guild, Inc., the American Society of Media Photographers,

Inc., The Dramatists Guild of America, the Graphic Artists Guild, the Romance

Writers of America, the Songwriters Guild of America, Inc., and the Textbook &

Academic Authors Association (collectively, the “Amicus Curiae”) – who

                                           27
USCA11 Case: 21-13232        Document: 20       Date Filed: 01/25/2022   Page: 38 of 54



collectively represent, “defend[] and promote[] the rights of authors …

photographers, graphic artists, songwriters, dramatists, scholarly authors, and other

artists.” Brief for The Authors Guild, Inc., the American Society of Media

Photographers, Inc., The Dramatists Guild of America, the Graphic Artists Guild,

the Romance Writers of America, the Songwriters Guild of America, Inc., and the

Textbook & Academic Authors Association as Amici Curiae Supporting Appellee,

Starz Entertainment, LLC v. MGM Domestic Television Distribution, LLC at *1

(No. 21-55379)(9th Cir.).

      Within the brief, the Amicus Curiae highlight one of the fundamental goals

“enshrined” by the Constitution – “encouraging artistic development.” Id. at *24

(citing U.S. Const. art. I § 8 cl. 8 (“The Congress shall have the Power … [t]o

promote the Progress of Science and useful Arts, by securing for limited Times to

Authors and inventors the exclusive Right to their respective Writings and

Discoveries.”). The Amicus Curiae also highlighted the importance of the discovery

rule for artists, especially in today’s digital world:

                    Policing [] infringements has unquestionably gotten harder.
                    Infringing works are now distributed online at massive scale for
                    virtually no cost by a sea of largely anonymous infringers
                    operating around the world … [and] policing infringements will
                    continue to become harder as digital content continues to
                    proliferate and the quality of pirated works continues to improve.

                    Moreover, one of the central challenges artists face in pursuing
                    meritorious cases – engaging competent counsel – will only
                    become more difficult if potential damages, and thus expected

                                           28
USCA11 Case: 21-13232       Document: 20       Date Filed: 01/25/2022   Page: 39 of 54



                    recoveries, are slashed. Retrospective damages are what drive the
                    decision and ability to litigate … [a]nd if artists are unable to
                    justify their costs of litigation by the prospect of recovering
                    damages, then they will have no choice but to cede the value of
                    their creations to infringers.

                    The discovery rule is responsive to these concerns. It preserves
                    an artist’s rights – and the value of his or her case – by tying the
                    date of “accrual” … to the reasonable discovery of the
                    infringement, and, thereby, tying the artist’s right to recovery to
                    the date he or she reasonably discovered the infringement.

Id. at *11, 21-22. The Amicus Curiae conclude that “MGM’s proposed rule,” i.e.,

the rule created in Sohm:

                    Does exactly the opposite of what copyright law broadly, and the
                    discovery rule specifically, intend. By reducing potentially
                    recoverable damages, it will devalue artists’ rights ‘to their
                    respective Writing,’ … discourage them from litigating
                    meritorious suits … and … reduce the quantity and quality of
                    new works that are made available for the public’s benefit.

Id. at *26 (emphasis in the original). Not to mention, from a practical standpoint, the

adoption of the Sohm holding would not only not discourage infringements, but

would in actuality incentivize infringement by parties – such as the “anonymous

infringers” referenced by the Amicus Curiae – with the capability of avoiding

detection for a three-year period.

      For all of the reasons outlined above, the “more harmonious solution” is the

Polar Bear-Discovery Rule exception: “a three-year damages bar except when the

plaintiff reasonably was not aware of the infringements at the time they occurred.”




                                          29
USCA11 Case: 21-13232       Document: 20        Date Filed: 01/25/2022   Page: 40 of 54



Starz, 510 F.Supp.3d. at 888. This Court should find that the district court erred in

relying on Sohm and adopt this more harmonious solution.


   II. The District Court Usurped the Functions of the Jury, Disregarded
       Record Evidence, and Improperly Concluded That MSI and Nealy Did
       Not Present Evidence Sufficient to Defeat Summary Judgment on the
       Issue of Ownership of the MSP-Registered Songs. Application of a Proper
       Summary Judgement Standard to the Ample Evidence Present in the
       Record Mandates That the Issue Be Brought Before the Trier of Fact.

      FRCP 56(a) provides that a court shall only grant summary judgment when

“the movant shows that there is no genuine dispute as to any material fact,” and

therefore, “the movant is entitled to judgment as a matter of law.” FRCP 56(a). As

the district court explained in the summary judgment order, “[w]hen the nonmoving

party bears the burden of proof,” summary judgment can be granted if the non-

movant does not “come forward with some evidence” supporting its position. (Doc.

256, at p. 4)(quoting Maxi-Taxi Of Fla., Inc. v. Lee Cty. Port Auth., 301 F. App’x

881, 885 (11th Cir. 2008)(emphasis added). In determining summary judgment, the

district court is not to usurp the functions of the jury by “making credibility

determinations … weighing [] evidence, and … drawing [] legitimate inferences

from the facts … the evidence of the non-movant is to be believed, and all justifiable

inferences are to be drawn in his favor.” Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 255 (1986) (internal citations omitted).




                                         30
USCA11 Case: 21-13232        Document: 20      Date Filed: 01/25/2022   Page: 41 of 54



      The inquiry is simple: whether, based on the evidence present in the record,

“a fair minded jury could find in the non-moving party’s favor”; if the answer is yes,

summary judgment cannot be granted. Urbont v. Sony Music Ent., 831 F.3d 80, 88

(2d Cir. 2016)(quoting Beatie v. City of New York, 123 F.3d 707, 710–11 (2d Cir.

1997)); see Saregama India Ltd. v. Mosley, 635 F.3d 1284, 1290 (11th Cir.

2011)(quoting Cook ex rel. Estate of Tessier v. Sheriff of Monroe Cnty., 402 F.3d

1092, 1120 (11th Cir.2005)(“a summary judgment motion should not be granted

unless the facts are so crystallized that nothing remains but questions of law.”). It is

reversible error for a district court to disregard record evidence and grant summary

judgment. Stewart v. Booker T. Washington Ins., 232 F.3d 844, 849-50 (11th Cir.

2000)(reversing grant of summary judgment and holding that the “district court

improperly discredited [the plaintiff’s] testimony” regarding a material issue);

Strickland v. Water Works and Sewer Bd., 239 F.3d 1199, 1202 (11th Cir.

2001)(holding that the plaintiff’s claim “survives summary judgment because a

‘swearing match’ between the plaintiff and his immediate supervisor [concerning

the ultimate issue of what happened] creates a material issue of fact”).

      The district court held that MSI could not “receive the benefit of the

presumption of legal ownership based on the copyright registrations for the MSP-

Registered Songs … [w]ithout establishing that MSP had no legal existence apart

from MSI and was no more than an assumed name.” (Doc. 256, at p.4)(emphasis



                                          31
USCA11 Case: 21-13232        Document: 20      Date Filed: 01/25/2022   Page: 42 of 54



added). However, as explained above, an appropriate summary judgment assessment

does not require MSI to conclusively “establish” such a relationship at this stage, but

to present sufficient evidence to permit a reasonable jury to find in their favor on the

issue. In short, the district court incorrectly applied the summary judgment standard,

disregarded record evidence, and made a reversible error by concluding that MSI

and Nealy had not done so.

      A. The Deposition Testimony of Nealy Coupled With That of Jonathan
         Black and Garfield Baker, Standing Alone, Creates a Genuine Issue
         of Material Fact.

      In dereliction of its summary judgment role, the district court made a

credibility determination as it related to Nealy’s testimony, finding that the below

discrepancy deemed it “contradictory.” (Doc. 256, at p. 6).

      Nealy testified as follows:

             Q.· Okay.· Is Music Specialist Publishing a corporation?
             A.· It's a -- a d/b/a.
             Q.· All right.· So it's a fictitious name.
             A.· Yes.

             Q. Okay.· Now, you -- we talked earlier
             about Music Specialist Publishing, and maybe you
             answered this question already.· Was Music
             Specialist Publishing a separately incorporated·
             legal entity, if you know what that means?
             A.· Yes.

(Doc. 248, at p.6-7). What the district court ignored, however, was that Nealy

clarified his position immediately thereafter:


                                          32
USCA11 Case: 21-13232         Document: 20      Date Filed: 01/25/2022   Page: 43 of 54



                Q.· It was.
                ·So Music Specialist Publishing is a different company from Music
                Specialist, Inc?
                A.· No. That was a d/b/for Music Specialist.

Id. It is not and cannot be disputed that MSP is not a separately incorporated legal

entity.

          The district court also pointed to a prior affidavit of Nealy’s in which he

referred to MSP as being “affiliated with Music Specialist Publishing.” (Doc. 256,

at p.6). An affiliate, according to investopedia.com is “used primarily to describe a

relationship wherein one company owns less than a majority stake in … [a]nother

company’s stock.” James Chen, Affiliate (updated October 31, 2021),

https://www.investopedia.com/terms/a/affiliate.asp. While MSI was (and is) an

incorporated entity with the authority to issue 1,000 shares of stock at a $1.00 par

value – all of which were issued to Nealy as sole owner/shareholder of the entity –

MSP was never incorporated or organized, never issued shares of stock or had

authority to do so, and thus, could not legally be considered an affiliate of MSI.

(Doc. 167-1, at p. 5; Doc. 185, at p. 2, ¶ 2.). Nealy’s prior testimony that MSI and

MSP were “affiliated” (a term with synonyms such as united, joined, and connected)

does not contradict his present and clear-cut testimony that MSP was a d/b/a of MSI.

          The district court also found that Nealy’s testimony was “uncorroborated” –

another incorrect assertion. (Doc. 256, at p.6). Both former MSI legal consultant

Jonathan Black and former MSI recording artist Garfield Baker confirmed that, to

                                           33
USCA11 Case: 21-13232        Document: 20      Date Filed: 01/25/2022   Page: 44 of 54



their knowledge, MSP was a d/b/a of MSI. (Doc. 248, at p.7-9) (Black: “I believe

that Music Specialist Publishing was a d/b/a of Music Specialist, Inc … I was

directed to use that as the publishing entity for Music Specialist”); (Baker: “So

maybe Music Specialist Publishing was some kind of d/b/a or whatever of Music

Specialist, Inc., but I understood that to be the publishing arm of the Music Specialist

Corp.”). Even if somewhat “speculative,” as the district court noted, the additional

testimony is nonetheless corroborating. (Doc. 256, at p.6). The deposition testimony,

which is only a small portion of the record evidence on the issue, should – standing

alone – create a genuine issue of material fact regarding MSP being a d/b/a and the

publishing arm of MSI.

      By construing Nealy’s testimony against him and disregarding the testimony

of Jonathan Black and Garfield Baker, the district court ran afoul of its summary

judgment functions of accepting the non-moving party’s evidence as true, construing

the evidence in the light most favorable to the non-moving party, and resolving all

doubts in favor of the non-moving party. Eastman Kodak Co. v. Image Technical

Servs, Inc., 504 U.S. 451, 456 (1992). Accordingly, the district court’s grant of

summary judgment should be reversed.




                                          34
USCA11 Case: 21-13232       Document: 20      Date Filed: 01/25/2022   Page: 45 of 54



      B. The Facts Stated Within the Copyright Certificates and the Copyright
         Office’s Public Catalog are Documentary Evidence of the
         Relationship.

      In addition to the above testimony, a plethora of documentary evidence

supporting MSI and Nealy’s position is contained in the district court record. For

example:

      (a) As part of the underlying lawsuit, MSI and Nealy produced certificates of

copyright registration for each of the MSP-Registered Songs. The certificates, which

themselves constitute prima facie evidence of copyright validity, as well as the facts

contained therein, see 17 U.S.C. § 410(c) provide as follows: (1) the MSI-Registered

Songs – “Lookout Weekend” (PA 236-535)14 and “The Party Has Begun” (PA 236-

534) – were created in 1984 and registered on November 21, 1984, the copyright

claimant was MSI (located at 67 N.W. 71st Street, Miami, FL 33150), and they were

“work(s) made for hire” and transferred “by assignment” to MSI by the author,

Butler; (2) “Jam the Box” (PA 310-389) and “I Know You Love Me” (PA 298-975)

were created in 1984 and registered on July 30, 1986 and July 31, 1986, respectively,

the copyright claimant was MSP (located at 67 N.W. 71st Street, Miami, FL 33150),

and they were transferred “by written agreement – songwriters contract” to MSP by

the author Butler; and (3) “Computer Language” (PA 228-955) was created in 1984


 “PA” stands for performing arts, and is the normal registration designation for
14

musical compositions.


                                         35
USCA11 Case: 21-13232      Document: 20      Date Filed: 01/25/2022   Page: 46 of 54



and registered on October 4, 1984, the copyright claimants were MSP and Happy

Stepchild Music Publishing Corp., and they were transferred “as per songwriters

agreement & co-publishing agreement” by the author, Butler. (Doc. 168-10, pp. 1-

15).

       On the face of the copyright certificates for “Jam the Box” and “I Know You

Love Me” – two of the MSP-Registered Songs – correspondence pertaining to the

musical compositions was to be sent to MSI corporate Secretary “Tara Washington

[at] Music Specialists, Inc., 67 N.W. 71st Street, Miami, FL 33150.” Id. at pp. 5-6,

11-12. Ms. Washington signed the registration “for” and as “the authorized agent

of Music Specialist Publishing.” Id. In short, the evidence shows that Musical Works

were all created in the same year, that the copyrights were transferred by the same

person – Butler – who was undisputedly the Vice President and a recording artist

and producer working for MSI at the time, and that questions and communications

pertaining to MSP’s copyrights were directed to MSI, which was located at the exact

same address, and, as a record label, would typically only own copyrights in sound

recordings. See note 3.

       (b) The Copyright Office website’s public catalog printout pertaining to the

musical compositions “Jam the Box” and “Computer Language” (the third MSP-

Registered Song) lists the copyright claimant as “Music Specialist Publishing,” with

the “Publisher Name” being listed as “Music Specialists MSI-109” and “Music



                                        36
USCA11 Case: 21-13232         Document: 20       Date Filed: 01/25/2022   Page: 47 of 54



Specialists MSI-106,” respectively. (Doc. 167-16, at pp. 9, 18)(emphasis added).

“MSI-109” and “MSI-106” are catalog numbers, which are “assigned to every

release by the record company to identify that particular release.” Lori Spencer,

What are the Catalog Numbers on Vinyl Records? (updated April 12, 2017),

https://ourpastimes.com/catalog-numbers-vinyl-records-8518643.html(emphasis

added). The three-letter symbol “MSI,” therefore, refers to the recording company

MSI, and thus, according to the records of the Copyright Office, MSI is the publisher

name for two of the MSP-Registered Songs. The exact same catalog numbers are

displayed on the original vinyl records for “Jam the Box” and “Computer

Language,” which – although registered by MSP with the Copyright Office – both

contain a copyright notice (©) directly next to “Music Specialists, Inc.” (Doc. 176-

19, at pp. 1, 4).15

       C. Tony Butler, the Former Vice President of MSI and the Sole Author
          of the Musical Works Acknowledged in Court Filings That MSI and
          MSP Were One in the Same Entity.

       In 2006, Butler (and his solely owned and now-defunct entities Captain

Productions, Inc. (“Captain”) and C-Tan Music (“C-Tan”) were sued by companies


15
  As an aside, regardless of whether “allegations in a party’s statement of material
facts [constitute] evidence, as the district court found, it is important to point out that
Atlantic, Warner, and Artist stated in their statement of material facts that the license
to use “Jam the Box” in the song “In the Ayer” was negotiated by “an attorney
[claiming to] represent[] Butler, 321 Music and ‘Music Specialist,’ a d/b/a of MSI.”
(Doc. 256, at note 5).


                                            37
USCA11 Case: 21-13232       Document: 20      Date Filed: 01/25/2022   Page: 48 of 54



named Pandisc and Whooping Crane. (Doc. 167-10). In response to the allegations

in Pandisc and Whooping Crane’s complaint, Butler (filing pro se) responded as

follows:

      (a) Pandisc and Whooping Crane alleged: “Plaintiffs, PANDISC and

WHOOPING CRANE, and Defendant C-TAN MUSIC entered into an agreement

whereby C-Tan sold twenty-five percent (25%) of the ownership of musical

compositions/works referenced in the 1989 Production Agreement to Pandisc and

Whooping Crane.” Id. at ¶ 16. The musical compositions in the 1989 Production

Agreement included “I Know You Love Me” (an MSP-Registered Song) and

“Lookout Weekend” and “The Party Has Begun” (the MSI-Registered Songs). Id. at

¶¶ 13, 16. Butler responded: “Denied in that C-Tan Music had no interest in the

subject compositions to transfer since 100% of the copyrights in the compositions

were owned and controlled by Music Specialist, Inc.” (Doc. 185-12, at ¶ 16).

(emphasis added).

      (b) Pandisc and Whooping Crane alleged: “The 1990 Publishing Agreement

assigns and transfers all exclusive rights to administer and exploit the copyrights in

the musical compositions to Plaintiff PANDISC and WHOOPING CRANE.” (Doc.

167-10, at ¶ 18). Butler responded: “Denied in that no rights could be transferred by

C-Tan since Music Specialist, Inc. was the sole owner of the rights in the subject




                                         38
USCA11 Case: 21-13232         Document: 20       Date Filed: 01/25/2022    Page: 49 of 54



compositions … and said rights were never transferred to C-Tan.” (Doc. 185-12, at

¶ 18)(emphasis added).

       In 2009, 321 (an entity created in 2007 and solely owned by Butler), Atlantic,

Warner, and Artist were sued by Pandisc and Whooping Crane. (Doc. 185-9). In 321

Music’s countercomplaint, they alleged as follows:

                      321 is the owner of the … publishing rights for “Jam the
                      Box” and the songs … described in ¶ 35 below (hereinafter
                     “subject music”) which it obtained from Tony Butler and
                     Music Specialist Publishing (Music Specialist), which has
                     owned the music since its creation.”

Id. at p. 9, ¶ 8. While the allegation states, “described in ¶ 35” only, it is clear – based

on the use of the plural “songs,” the definition “subject music,” and the format of

the document – that the songs being referenced are instead the ones provided in

paragraphs 9 through 35. Id. at p. 9, ¶¶ 8-35 (emphasis added). The following songs

are contained in paragraphs 10, 13, 23, 24, and 32:

              (a) “In 1984, Music Specialist (referring, as explained above, to MSP)

registered a claim of ownership of the copyright to “Jam the Box.” See Exhibit “B”

attached hereto. (Copyright No. 000031089).”

              (b) “In 1984, Music Specialist registered a claim of ownership of the

copyright to “I Know You Love Me.” See Exhibit “A” hereto. (Copyright No.

0000298975).”




                                            39
USCA11 Case: 21-13232       Document: 20      Date Filed: 01/25/2022   Page: 50 of 54



             (c) “In 1984, Music Specialist registered a claim to ownership of the

copyright to “computer language.” See Exhibit “B” attached hereto. (Copyright No.

0000228955).”

             (d) “In 1984, Music Specialist registered a claim of ownership of the

copyright to [MSI-Registered Song] “The Party Has Begun.” See Exhibit “B”

attached hereto. (Copyright No. PA 0000236534).”

             (e) “In 1984, Music Specialist registered a claim of ownership of the

copyright to [MSI-Registered Song] “Lookout Weekend.” (Copyright No. PA

0000236535).”

Id.. Except for the registration years for “Jam the Box” and “I Know You Love

Me,”16 the copyright numbers listed and the years of registration directly correspond

to those that appear on the copyright certificates produced by MSI and Nealy in the

underlying lawsuit: “Jam the Box” (PA 310-[3]89); “I Know You Love Me” (PA

298-975); “Computer Language” (PA 228-955); “The Party Has Begun” (236-534);

and “Lookout Weekend” (236-535). Id.; (Doc. 168-10, at pp. 1-15). Attached as

Exhibit B to the countercomplaint by 321, was the full catalog of musical


16
  The reason for the improper year of registration listed for both “Jam the Box” and
“I Know You Love Me” is that 321/Butler mistook the registration year for the year
of creation. As evidenced by the copyright certificates for both musical
compositions, they were created in 1984, but not registered until 1986 when
Jonathan Black began setting up MSI’s publishing catalog. (Doc. 168-10, at pp. 5,
11)


                                         40
USCA11 Case: 21-13232        Document: 20      Date Filed: 01/25/2022   Page: 51 of 54



compositions and sound recordings registered by MSI and MSP, which showed that

the MSI-Registered Songs were registered in the name of MSI and the MSP-

Registered Songs were registered in the name of MSP. (Doc. 185-9, at pp. 22-24).

      Thus, as explained in the Factual Background above, Butler admitted in the

2006 Case that 100% of his copyrights in the MSI-Registered Songs and “I Know

You Love Me” (an MSP-Registered Song) had been transferred to and were owned

by MSI. Then in the 2009 Case, 321 (i.e., Butler) admitted that Butler’s copyrights

in the Musical Works (most importantly, as it relates to this appeal the MSI-

Registered Songs) were owned by MSP “since [their] creation.” By stating that the

copyrights in “I Know You Love Me” (an MSP-Registered Song) were transferred

to and owned by MSI and then that the MSI-Registered Songs (as well as “I Know

You Love Me”) had been owned by MSP since their creation, Butler – the former

Vice President of MSI and the sole author of the Musical Works, and thus, the only

person legally entitled to originally transfer the copyrights – confirmed that MSI and

MSP were one in the same entity. In fact, Butler and 321’s co-defendants in the 2009

Case – Atlantic, Artist, and Warner – agreed with Butler and 321’s assertion that

MSP owned the copyrights in the Musical Works (specifically, the MSI-Registered

Songs) from their creation.17 As such, at least implicitly, Atlantic, Artist, and Warner


17
  If not, they could not have asserted that Pandisc and Whooping Crane’s ownership
claims were “barred by virtue of a successive agreement covering the same musical
works.” See Factual Background, supra; (Doc. 185-13, at pp. 13, 29).

                                          41
USCA11 Case: 21-13232        Document: 20       Date Filed: 01/25/2022    Page: 52 of 54



themselves acknowledged that MSI and MSP were one in the same entity – because

if they were separate entities then it would only have been MSI who could have

transferred the rights to the MSI-Registered Songs to Butler/321 and only MSP who

could have transferred Butler/321 the rights to the MSP-Registered Songs.18

      Applying      the   correct   summary       judgment    standard,    appropriately

contemplating the above facts and evidence contained in the district court record,

and considering the undeniable fact that Atlantic, Warner, and Artist have presented

no evidence to directly refute MSI and Nealy’s contention that MSP was d/b/a of

MSI without separate legal existence, (Doc. 224, at p. 26)(“As Defendants point out,

Plaintiff have only ‘vaguely pled’ that MSP is affiliated with MSI”), holding that a

reasonable jury could not possibly find that MSI is the owner of the MSP-Registered

Songs, and thus, has standing to maintain a copyright infringement as to those songs

– as the district court did – is indeed reversible error.

                                    CONCLUSION

      This Court should reverse the district court’s holdings that (1) MSI and Nealy’s

potential damages are limited to the three-year period prior to their filing suit and (2)



18
  Any argument whatsoever that Atlantic, Warner, and Artist – three of the largest
and most prominent music entities in the world – did not perform at least minimal
due diligence, i.e., checking the Copyright Office website or records, before entering
into their agreements with Butler and 321 (and therefore did not know that the
musical compositions “Lookout Weekend” and “The Party Has Begun” had been
registered in the name of MSI) is, again, preposterous.

                                           42
USCA11 Case: 21-13232       Document: 20      Date Filed: 01/25/2022   Page: 53 of 54



MSI and Nealy did not present sufficient evidence of their ownership of the MSP-

Registered Songs to defeat summary judgment.


                      CERTIFICATE OF COMPLIANCE

      I HEREBY CERTIFY that this Brief complies with the type-volume limitation

set forth in Federal Rule of Appellate Procedure 32(a)(7)(B). This Brief is comprised

of 10,187 words, from the Statement of the Issues Section to and including the

Conclusion.




                                         43
USCA11 Case: 21-13232     Document: 20      Date Filed: 01/25/2022   Page: 54 of 54



                        CERTIFICATE OF SERVICE

      I, Carlton LP Talbot, do hereby certify that a copy of the foregoing

Appellant’s Opening Brief was sent to all counsel for Defendants/Appellees listed

below by electronically mailing the same on January 25, 2022.

Karen L. Stetson and Jonathan L. Gaines
GRAY ROBINSON, P.A.
Fla. Bar No. 742937
333 SE 2nd Avenue, Suite 3200
Miami, FL 33131
(305) 416-6880
karen.stetson@gray-robinson.com
Jonathan.gaines@gray-robinson.com

Jonathan Z. King
COWAN, LIEBOWITZ & LATMAN, P.C.
147 West 47th Street
New York, NY 10036
(212) 790-9238
jzk@cll.com

                                            Respectfully submitted,

                                            By: /s/ Carlton Talbot
                                            Carlton LP Talbot, Esq.
                                            Talbot Legal Consultants
                                            Fla Bar ID: 0107089
                                            2719 Hollywood Blvd., Suite 5067
                                            Hollywood, FL 33020
                                            (305) 697-3030
                                            carlton@talbotlegalco.com

                                            Attorney for Plaintiffs/Appellants
                                            Music Specialist, Inc. and Sherman
                                            Nealy




                                       44
